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 1   Carleton L. Briggs, SBN 117361
     Law Offices of Carleton L. Briggs
 2   740 Fourth Street, Suite 202
     Santa Rosa, CA 95404-4421
 3   T: (707) 523-2251
     F: (707) 523-2253
 4   clbriggs@sonic.net
 5   John H. Scott, SBN 72578
 6   Scott Law Firm
     1388 Sutter Street, Suite 715
 7   San Francisco, California 94109
     T: (415) 561-9601
 8   F: (415) 561-9609
     john@scottlawfirm.net
 9   Sherry@scottlawfirm.net
10   Attorneys for Plaintiffs GEORGE E.
     BARICH and LAURIE ALDERMAN
11

12
                                    UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14

15   GEORGE E. BARICH and LAURIE                    )   Case No. 21-cv-00034-EMC
     ALDERMAN,                                      )
16                                                  )   STIPULATION AND [PROPOSED] ORDER
                           Plaintiffs,              )   FOR VOLUNTARY DISMISSAL WITH
17                                                  )   PREJUDICE [Fed. R. Civ. P. 41(a)(1)(A)(ii)]
           v.                                       )
18                                                  )
                                                    )
19   CITY OF COTATI and JOHN A.                     )
     DELL’OSSO,                                     )
20                                                  )
                           Defendants.              )
21                                                  )
                                                    )
22                                                  )
                                                    )
23                                                  )

24           IT IS HEREBY STIPULATED by the parties hereto, through their respective undersigned

25   counsel and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), that pursuant to the

26   settlement between the parties in this matter, this action be dismissed with prejudice in its entirety as

27                                                       1
28    STIPULATION AND [PROPOSED] ORDER FOR VOLUNTARY                             Case No. 21-cv-00034-EMC
      DISMISSAL WITH PREJUDICE
       Case 3:21-cv-00034-EMC Document 110 Filed 02/22/23 Page 2 of 2


 1
     to all plaintiffs and all defendants, each party to bear his, her or its own attorney fees and costs.
 2
              IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 3

 4
     Dated: February 16, 2023                         LAW OFFICES OF CARLETON L. BRIGGS
 5

 6                                               By: /s/ Carleton L. Briggs
                                                     CARLETON L. BRIGGS
 7                                                   Attorney for Plaintiffs, GEORGE E. BARICH and
                                                     LAURIE ALDERMAN
 8

 9   Dated: February 16, 2023                         SCOTT LAW FIRM
10
                                                 By: /s/ John H. Scott
11
                                                     JOHN H. SCOTT
12                                                   Attorney for Plaintiffs, GEORGE E. BARICH and
                                                     LAURIE ALDERMAN
13

14   Dated: February 16, 2023                         GIBBONS & CONLEY

15
                                                 By: /s/ Peter Urhausen
16                                                   PETER URHAUSEN, ESQ.
                                                     SEAN CONLEY, ESQ.
17                                                   Attorney for Defendants, CITY OF COTATI and
                                                     JOHN A. DELL’OSSO
18

19                                           [PROPOSED] ORDER

20         PURSUANT TO STIPULATION, IT IS SO ORDERED. This Case Is Dismissed with

21   Prejudice in Its Entirety as To All Plaintiffs and All Defendants, Each Party to Bear His, Her or
22   Its Own Attorney Fees and Costs.
23
     Dated:
24
                                                   HON. EDWARD M. CHEN
25                                                 United States District Judge

26

27                                                       2
28    STIPULATION AND [PROPOSED] ORDER FOR VOLUNTARY                               Case No. 21-cv-00034-EMC
      DISMISSAL WITH PREJUDICE
